Case 0:19-cv-62430-UU Document 17 Entered on FLSD Docket 12/13/2019 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


 19-62430-CIV-UNGARO
 _________________________________/


        GENERAL ORDER ON DISCOVERY OBJECTIONS AND PROCEDURES

        This matter is before this Court sua sponte.       The Honorable Ursula Ungaro,

 United States District Judge, referred Defendant’s Motion to Compel, ECF No. 15, to the

 undersigned United States Magistrate Judge. ECF No. 16. See 28 U.S.C. § 636(b);

 see also S.D. Fla. Mag. R. 1. In order to efficiently and fairly resolve discovery disputes,

 the parties are hereby notified that the following rules apply to discovery objections

 before this Court. In addition, the procedure for filing discovery motions is set forth

 below. This procedure does not apply to any discovery motion currently pending before

 the undersigned, but shall apply to any motion filed after the entry of this Order.

   I.   Objections

           A. Specific Objections

        All objections to discovery requests must be specific. The parties shall not make

 generalized, vague, or boilerplate objections. Nonspecific objections do not comply with

 the Federal Rules of Civil Procedure or the Local Rules and will not be sustained by this

 Court. See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must

 be stated with specificity.”); Fed. R. Civ. P. 34(b)(2)(B) (“For each item or category, the

 response must either state that inspection and related activities will be permitted as

 requested or state an objection to the request, including the reasons.” (emphasis


                                              1
Case 0:19-cv-62430-UU Document 17 Entered on FLSD Docket 12/13/2019 Page 2 of 6



 added)); S.D. Fla. L.R. 26.1(g)(3)(A) (“Where an objection is made to any interrogatory

 or subpart thereof or to any production request under Federal Rule of Civil Procedure

 34, the objection shall state with specificity all grounds.@).

            B. Objections Based Upon                Vague,   Overly   Broad,   and   Unduly
               Burdensome Requests

        Objections that state that a discovery request is Avague, overly broad, or unduly

 burdensome@ are, standing alone, meaningless and will be found meritless by this

 Court. See Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“[T]he mere

 statement by a party that the interrogatory was ‘overly broad, burdensome, oppressive

 and irrelevant’ is not adequate to voice a successful objection to an interrogatory.”). In

 accordance with Part I.A of this Order, a party objecting on these grounds must explain

 the specific and particular way in which a request is vague, overly broad, or unduly

 burdensome. Additionally, if a party believes that a request is vague, the party shall

 attempt to obtain clarification prior to objecting on this ground.

            C. Objections Based Upon Scope

        If there is an objection based upon an unduly broad scope, such as timeframe or

 geographic location, discovery should be provided as to those matters within the scope

 that is not disputed. For example, if discovery is sought nationwide for a ten-year

 period, and the responding party objects on the grounds that only a five-year period

 limited to activities in the State of Florida is appropriate, the responding party shall

 provide responsive discovery falling within the five-year period as to the State of Florida.

            D. Objections Based Upon Irrelevant Requests and Requests Not
               Reasonably Calculated to Lead to Admissible Evidence

        In accordance with Part I.A of this Order, an objection that a discovery request is

                                                2
Case 0:19-cv-62430-UU Document 17 Entered on FLSD Docket 12/13/2019 Page 3 of 6



 irrelevant and/or not reasonably calculated to lead to admissible evidence must include

 a specific explanation describing why the request lacks relevance and/or why the

 information sought is not reasonably calculated to lead to admissible evidence. The

 parties are reminded that the Federal Rules of Civil Procedure allow for broad discovery

 that need not be necessarily admissible at trial.       See Fed. R. Civ. P. 26(b)(1);

 Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 350–51 (1978).

           E. Formulaic Objections Followed by an Answer

       The parties shall not recite a formulaic objection followed by an answer to the

 request. Unfortunately, it has become common practice for a party to object on the

 basis of any of the above reasons, but then state Anotwithstanding the above@ and

 nevertheless respond to the discovery request, subject to or without waiving such

 objection. This type of objection and answer preserves nothing and serves only to

 waste the time and resources of the parties and this Court. Further, such practice

 leaves the requesting party uncertain as to whether the question actually has been fully

 answered or whether only a portion of the question has been answered.

           F. Objections Based Upon Privilege

       In accordance with Part I.A of this Order, generalized objections asserting

 attorney–client privilege or work-product doctrine are also insufficient.     Local Rule

 26.1(g)(3)(B) requires objections based upon privilege to identify the specific nature of

 the privilege being asserted, the nature and subject matter of the communication at

 issue, and the sender and receiver of the communication and their relationship to each

 other, inter alia. The parties are instructed to carefully review this rule and to refrain

 from objections such as, AObjection. This information is protected by attorney-client

                                             3
Case 0:19-cv-62430-UU Document 17 Entered on FLSD Docket 12/13/2019 Page 4 of 6



 and/or work-product privilege.@ If a general objection based on privilege is made without

 attaching a proper privilege log, the objection may be deemed to have been waived.

 See S.D. Fla. L.R. 26.1(g)(3(C).

  II.   Procedure

        The following procedures do not relieve parties of the requirements of any

 Federal Rule of Civil Procedure or Local Rule except as noted below.

           A. Meet and Confer

        Counsel must actually confer (either in person or via telephone) and engage in a

 genuine effort to resolve discovery disputes before filing discovery motions.

           B. Discovery Motions

        If, after conferring, the parties are unable to resolve their discovery disputes

 without Court intervention, the moving party shall file a motion requesting appropriate

 relief. The motion shall not exceed five pages in length. The moving party may attach

 as exhibits to the motion any materials relevant to the discovery dispute. For example,

 if the dispute concerns interrogatories, the interrogatory responses (which restate the

 interrogatories) should be filed with an indication of which interrogatories remain in

 dispute. Because the parties may attach relevant discovery to the motion, compliance

 with S.D. Fla. L.R. 26.1(h)(2) or (3) is not required. The movant shall include in the

 motion a certificate of good faith that complies with S.D. Fla. L.R. 7.1(a)(3) and that

 specifically indicates the efforts that were made to resolve the dispute prior to filing the

 motion.

           C. Responses to Motions

        The nonmoving party shall file a response to the motion, which is not to exceed

                                              4
Case 0:19-cv-62430-UU Document 17 Entered on FLSD Docket 12/13/2019 Page 5 of 6



 five pages in length. The responding party may also attach as exhibits any materials

 relevant to the discovery dispute. The moving party shall file a reply to the response,

 which is not to exceed five pages in length. The moving party may only attach to the

 reply exhibits that are relevant to rebut the response.

        The parties shall notify chambers as soon as practicable if they resolve some or

 all of the issues in dispute. The Court will set a discovery conference on the issues

 presented if this Court deems it appropriate.

           D. Time for Filing

        Pursuant to Local Rule 26.1(i)(1), the motion shall be filed “within thirty (30) days

 of the occurrence of grounds for the motion.” The response shall be filed on or before

 the fifth business day following the date the motion was filed. The reply, if any, shall be

 filed on or before the third business day following the filing of the response. The time

 period for filing a response or reply will begin to run on, and shall include, the first

 business day following the filing of the motion or response. For example, if the motion

 is filed on a Monday, the response shall be filed by the following Monday.            If the

 response is filed on a Friday, the reply shall be filed by the following Wednesday.

        For the purposes of calculating time per this Court’s discovery Order, Federal

 Rule of Civil Procedure 6(d) does not apply. To the extent that the docket reflects a

 different time or date to respond or reply, the timeframes in this Order are

 controlling.

           E. Expenses, Including Attorney’s Fees

        This Court reminds the parties and counsel that if the motion is granted, Federal

 Rule of Civil Procedure 37(a)(5) requires this Court to award to the moving party all

                                              5
Case 0:19-cv-62430-UU Document 17 Entered on FLSD Docket 12/13/2019 Page 6 of 6



 reasonable expenses incurred in making the motion, including attorney’s fees, absent

 an exception.

         THIS COURT MAY DECLINE TO CONSIDER ANY FILING THAT DOES NOT

 COMPLY WITH THIS ORDER.

         DONE AND ORDERED at Fort Lauderdale, Florida this 13th day of December,

 2019.




                                          _____________________________________
                                          PATRICK M. HUNT
                                          UNITED STATES MAGISTRATE JUDGE



 Copies furnished to:

 The Honorable Ursula Ungaro

 All counsel of record and/or pro se parties




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